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                 No. 05-41593
            In the United States Court of Appeals
                    for the Fifth Circuit

                        UNITED STATES OF AMERICA,
                                                                     Plaintiff-Appellee,

                                         V.

                           TIMOTHY RINEHART,
                                                                  Defendant-Appellant



                      CRIMINAL NO. 6:04CR82
          APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TEXAS
                         TYLER DIVISION


                           BRIEF OF APPELLANT


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            CERTIFICATE OF INTERESTED PERSONS

                        United States v. Timothy Rinehart
                                  No. 05-41593

      The undersigned counsel of record certifies that the persons having an interest

in the outcome of this case are those listed below:

      1.     Timothy Rinehart, Defendant-Appellant;

      2.     Alan Jackson, Assistant United States Attorney, who represented

appellee in the District Court;

      3.     Wayne R. Dickey, Assistant Federal Public Defender, who represented

appellant in the District Court; and who represents appellant in this Court.

      This certificate is presented so that the judges of this Court may evaluate

possible disqualification or recusal.



                                               _________________________________
                                               WAYNE R. DICKEY
                                               Attorney for Appellant




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                 REQUEST FOR ORAL ARGUMENT

      Counsel for Appellant in the above-styled and numbered cause does not request

oral argument. In the event that oral argument is granted, Appellant is prepared to

attend at the Court's pleasure.




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   SUBJECT MATTER AND APPELLATE JURISDICTION

      1.     Subject Matter Jurisdiction in the District Court. This case arose

from the prosecution of alleged offenses against the laws of the United States. The

District Court therefore had jurisdiction of this case under 18 U.S.C. § 3231.

      2.     Jurisdiction in the Court of Appeals. This is a direct appeal from a

final decision of the United States District Court for the Eastern District of Texas,

entering judgment of conviction and sentence in a criminal case. This Court therefore

has jurisdiction of this appeal under 18 U.S.C. § 3742 and 28 U.S.C. § 1291.

      Under Federal Rule of Appellate Procedure 4(b), a criminal defendant shall file

notice of appeal in the District Court “within 10 days after the entry of (I) the

judgment or order appealed from or (ii) a notice of appeal by the Government.”

Notice of Appeal by Appellant was timely filed on August 24, 2005.




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                      STATEMENT OF ISSUES

GROUND OF ERROR #1

THE DISTRICT COURT ERRED BY DEPARTING UPWARD FROM THE
SENTENCING GUIDELINES. THE DEPARTURE WAS NOT SUPPORTED BY
THE RECORD OR ANY FINDINGS BY THE COURT.



GROUND OF ERROR #2

MR. RINEHART’S SENTENCE MUST BE VACATED BECAUSE THE
DISTRICT COURT DID NOT PROVIDE NOTICE OF ITS INTENT TO IMPOSE
A SENTENCE ABOVE THE ADVISORY GUIDELINE RANGE.




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                          STATEMENT OF THE CASE

       1.      Nature of the Case.

       This is an appeal from a final criminal conviction

       2.      Course of Proceedings and Disposition in the Court Below.

       On October 5, 2005, Joseph Rinehart was charged in a three-count Indictment

(1R. 7-12)1. Mr. Rinehart was charged with three counts of Possession of Child

Pornography, in violation of 18 U.S.C. § 2252(a)(5)(B) and 2252A(b)(2). These

offenses allegedly occurred on December 3, 2002, and twice on January 30, 2004.

On April 15, 2005,         Mr. Rinehart pled guilty to Count One of the Indictment

pursuant to a written plea agreement in accordance with Fed.R.Crim.P. 11(c)(1)(C).

On August 15, 2005, the District Court sentenced Mr. Rinehart to 60 months

imprisonment, to be followed by three years supervised release.                     A mandatory

assessment of $100.00 was imposed. The Notice of Appeal was then timely filed.

       3.      Statement of Facts.

       On or about December 3, 2002, Mr. Rinehart possessed child pornography, in

violation of 18 U.S.C. § 2252(a)(5)(B) and 2252A(b)(2). That conduct resulted in the

charges to which Mr. Rinehart pleaded guilty (2R. 2).

   1
     In the references to the Record on Appeal, the numeral to the left of “R.” refers to a volume of
the record on appeal as assigned by the Clerk of this Court. Numbers to the right of “R.” denote the
page(s) of the volume referenced.

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         The Presentence Investigation Report (PSR) initially established a base offense

level of 15 for Count One.2 The PSR assigned Mr. Rinehart a two -level upward

adjustment pursuant to U.S.S.G. § 2G2.4(b)(1) because the images possessed by Mr.

Rinehart depict minors under the age of twelve. The PSR assigned Mr. Rinehart

a two -level upward adjustment pursuant to U.S.S.G. § 2G2.4(b)(2) because Mr.

Rinehart possessed ten or more items containing a visual depiction involving the

sexual exploitation of a minor. The PSR applied a two-level upward adjustment,

pursuant to U.S.S.G. § 2G2.4(b)(3) because he used a computer to receive the

material. Mr. Rinehart was assigned a three-level downward adjustment, pursuant to

U.S.S.G. § 3E1.1(a) and (b) because he timely accepted responsibility.

         Mr. Rinehart’s total offense level was 18 and his criminal history category was

IV. This made his range of punishment 41 to 51 months. The plea agreement,

entered into pursuant to Fed.R.Crim.P. 11(c)(1)(C), stipulated that the parties agreed

to these enhancements and this range of punishment. There was no argument or

suggestion by either the PSR officer or the Government that Mr. Rinehart should be

sentenced outside the range of the sentencing guidelines. The District Court,

however,      sentenced Mr. Rinehart to 60 months.


     2
    "PSR" refers to the Presentence Investigation Report filed by the United States Probation
Department (under seal). In the citations to the PSR, the numeral(s) to the left of "PSR" refer to page
numbers and the numeral(s) to the right of "PSR" refer to paragraph numbers.

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                   SUMMARY OF THE ARGUMENTS

      Ground of Error #1

      The District Court erred in departing upward, without advance notice, from the

Sentencing Guidelines. Mr. Rinehart’s offense conduct was accurately reflected in

the PSR’s calculations. It should be noted that the PSR officer did not recommend an

upward departure, and the Government never argued for an upward departure.

      The District Court remarked that it was upwardly departing because of Mr.

Rinehart’s criminal history and the corresponding need for public safety. No other

justification was provided. Mr. Rinehart’s criminal history, however, was fully

taken into account by his criminal history category of IV. In fact, Mr. Rinehart

contends that his criminal history category overstated his criminal history. When Mr.

Rinehart was twelve years old, he committed a sexual offense against his younger

sister. The state of Iowa did not adjudicate his offense until he was seventeen years

and legally considered an adult. In fact, Mr. Rinehart did not receive points for this

offense because he had been released from custody for more than five years prior to

the commencement of the instant offense.

      Because the state of Iowa waited until he was an adult to adjudicate the

offense committed when he was twelve years old, Mr. Rinehart was required to

register as a sex offender for the rest of his life. Mr. Rinehart’s eight criminal history

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points are all related to the offense of non-reporting. Mr. Rinehart did not commit

additional sexual or otherwise violent crimes. He failed to register as a sexual

offender. The criminal history category of IV fully and completely punishes Mr.

Rinehart for his failure to register or report as a sex offender. These non-reporting

crimes have not been shown to be an egregious factor that would justify an upward

departure. Therefore, Mr. Rinehart’s conduct was not so egregious as to justify

taking the case out of the “heartland” of the sentencing guidelines.

       The upward departure in this case was not reasonable. The District Court

imposed a sentence of 60 months, without indicating any particular methodology

regarding this sentence or how it arrived at this sentence vis-a-vis the sentencing

guidelines. The upward departure was not warranted and it was not reasonable.

       Ground of Error #2

       In Burns v. United States, 501 U.S. 129 (1991), the Supreme Court recognized

that modern federal sentencing requires procedures that promote "focused, adversarial

resolution of the legal and factual issues." It is, therefore, essential that all the parties

involved at sentencing - the defendant, the Government, and the District Court - know

prior to sentence what issues need to be addressed. The Supreme Court recognized,

and the Rules of Criminal Procedure later codified, that this was best achieved

through notice to the parties by the District Court when it intended to impose an


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above the Guidelines sentence. The need for that notice is even more critical in a

post-Booker advisory Guideline scheme. The District Court in this case did not

provide notice of its intent to impose an above the Guidelines sentence, even though

none was requested by the Government. Because the District Court imposed such a

sentence upon Mr. Rinehart without providing notice, Mr. Rinehart's sentence must

be vacated and his case remanded for resentencing.




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                 ARGUMENTS AND AUTHORITIES

                            GROUND OF ERROR #1

I.    THE DISTRICT COURT ERRED BY DEPARTING UPWARD FROM THE
      SENTENCING GUIDELINES. THE DEPARTURE WAS NOT SUPPORTED
      BY THE RECORD OR ANY FINDINGS BY THE COURT.

II.   STANDARD OF REVIEW AND REVIEWABILITY

      The PSR did not recommend that the District Court depart upward from the

range of imprisonment in the sentencing guidelines. The Government did not argue

for a sentence outside of the sentencing guidelines. Without providing notice that an

upward departure was being considered, the District Court imposed a sentence

outside the range of the advisory guidelines (3 R. 5).

      Prior to 2003, this Court’s review of departure decisions was for abuse of

discretion. See Koon v. United States, 518 U.S. 81, 91 (1996) ("The appellate court

should not review the departure de novo, but instead should ask whether the

sentencing court abused its discretion."); id. at 100(noting that just because "a

departure decision, in an occasional case, may call for a legal determination does not

mean, as a consequence, that parts of the review must be labeled de novo while other

parts are labeled an abuse of discretion" and pointing out that this unitary

abuse-of-discretion standard "includes review to determine that the discretion was not

guided by erroneous legal conclusions"); United States v. Hefferon, 314 F.3d 211,


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227 (5th Cir.2002) ("We review the district court's decision to depart upward for

abuse of discretion and shall affirm an upward departure if (1) the district court gives

acceptable reasons for departing, and (2) the extent of the departure is reasonable.");

United States v. Harris, 293 F.3d 863, 871 (5th Cir.2002) ("We review a district

court's departure from the range established by the Guidelines for abuse of discretion

...."); see also United States v. Ashburn, 38 F.3d 803, 807 (5th Cir.1994) (en banc).

This review was pursuant to 18 U.S.C. § 3742(e) (1994) which read in relevant part:

      Consideration.--Upon review of the record, the court of appeals shall
      determine whether the sentence ... (3) is outside the applicable guideline
      range, and is unreasonable, having regard for--
      (A) the factors to be considered in imposing a sentence, as set forth in
      chapter 227 of this title [§ 3551 et seq.]; and
      (B) the reasons for the imposition of the particular sentence, as stated by
      the district court pursuant to the provisions of section 3553©.... .


      In April 2003, Congress amended § 3742(e), altering the standard of review

with respect to the departure decision to de novo. See Prosecutorial Remedies and

Other Tools to End the Exploitation of Children Today Act of 2003 (PROTECT Act),

Pub.L. No. 108-21, § 401(d), 117 Stat. 650, 670 (Apr. 30, 2003); see United States

v. Painter, 375 F.3d 336, 338 (5th Cir. 2004); United States v. Bell, 371 F.3d 239,

242-43 (5th Cir.2004); United States v. Lee, 358 F.3d 315, 326 (5th Cir.2004).

Under this scheme, while the decision to depart was reviewed de novo, the degree of

departure was still reviewed for abuse of discretion. See Bell, 371 F.3d at 242-43.

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       In United States v. Booker, 543 U.S. ----, 125 S.Ct. 738, 160 L.Ed.2d 621

(2005), the Supreme Court          excised § 3742(e), leaving the appellate courts to

review sentences for "reasonableness." See also United States v. Mares, 402 F.3d

511, 520 (5th Cir.2005), petition for cert. filed, --- U.S. ----, --- S.Ct. ----, --- L.Ed.2d

---- (U.S. Mar. 31, 2005) (No. 04-9517). The Supreme Court explained that it was

essentially returning to the standard of review provided by the pre-2003 text, which

directs us "to determine whether the sentence 'is unreasonable' with regard to §

3553(a)." Booker, 125 S.Ct. at 765. Section 3553(a) remains in effect, and its factors

guide the reviewing court in determining whether a sentence is unreasonable.

Booker, 125 S.Ct. at 766; see also Mares, 402 F.3d at 519. Booker severed and

excised § 3742(e), replacing it with a reasonableness standard to be applied "across

the board." 125 S.Ct. at 766. Both standards require that a departure is reviewed in

light of the sentencing factors set forth in 18 U.S.C. § 3553(a). The reasonableness

review under Booker "is akin to ... abuse of discretion review." United States v.

Hadash, 408 F.3d 1080, 1083 (8th Cir.2005).




       18 U.S.C. § 3553(a) reads:

       (a) Factors to be considered in imposing a sentence.--The court shall
       impose a sentence sufficient, but not greater than necessary, to comply

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      with the purposes set forth in paragraph (2) of this subsection. The court,
      in determining the particular sentence to be imposed, shall consider–
      (1) the nature and circumstances of the offense and the history and
      characteristics of the defendant;
      (2) the need for the sentence imposed--
      (A) to reflect the seriousness of the offense, to promote respect for the
      law, and to provide just punishment for the offense;
      (B) to afford adequate deterrence to criminal conduct;
      © to protect the public from further crimes of the defendant; and
      (D) to provide the defendant with needed educational or vocational
      training, medical care, or other correctional treatment in the most
      effective manner;
      (3) the kinds of sentences available;
      (4) the kinds of sentence and the sentencing range established for ... the
      applicable category of offense committed by the applicable category of
      defendant as set forth in the guidelines ...;
      (5) any pertinent [sentencing guidelines] policy statement ... [;]
      (6) the need to avoid unwarranted sentence disparities among defendants
      with similar records who have been found guilty of similar conduct; and
      (7) the need to provide restitution to any victims of the offense.


      In Mares, this Court explained that, where the sentencing judge, in the exercise

of discretion, imposes a sentence "within a properly calculated Guideline range, in

our reasonableness review we will infer that the judge has considered all the factors

for a fair sentence set forth in the Guidelines" and that "it will be rare for a reviewing

court to say such a sentence is 'unreasonable.' "

      This Court has stated previously that it reviews the District Court's decision to

depart upward under a "unitary abuse-of-discretion standard," Koon v. United States,

518 U.S. 81 (1996); United States v. McKenzie, 991 F.2d 203, 204 (5th Cir.1993).


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This Court will affirm a departure from the Guidelines "if the district court offers

acceptable reasons for the departure and the departure is reasonable." United States

v. Lambert, 984 F.2d 658, 663 (5th Cir.1993). "If the special factor is an encouraged

factor, the court is authorized to depart if the applicable Guideline does not already

take it into account." Koon, 116 S.Ct. at 2045.

III.   ARGUMENT AND AUTHORITIES

       The District Court abused its discretion by departing upward in this case. No

notice was provided that an upward departure was being considered. An upward

departure was not advocated by either the Government or the PSR officer. Further,

the sentence imposed falls outside the parameters of “reasonableness”.

       A District Court is required to impose a sentence within the Guidelines unless

it determines "that there exists an aggravating or mitigating circumstance of a kind,

or to a degree, not adequately taken into consideration by the Sentencing Commission

in formulating the guidelines that should result in a sentence different from that

described." 18 U.S.C. § 3553(b). In order for the District Court to depart from the

Guidelines, "certain aspects of the case must be found unusual enough for it to fall

outside the heartland of cases in the Guideline." Koon, 116 S.Ct. at 2046. The

Supreme Court adopted the following inquiry that a sentencing court must make

before departing from the Guidelines: 1) What features of this case, potentially, take


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it outside the Guidelines' 'heartland' and make of it a special, or unusual, case? 2) Has

the Commission forbidden departures based on those features? 3) If not, has the

Commission encouraged departures based on those features? 4) If not, has the

Commission discouraged departures based on those features? Koon, 116 S.Ct. at

2045; United States v. Rivera, 994 F.2d 942, 949 (1st Cir.1993).

      After Booker , it has been said that a sentence within a properly calculated

guideline range "is entitled to a rebuttable presumption of reasonableness," United

States v. Mykytiuk, 415 F.3d 606, 608 (7th Cir.2005). "The farther the judge's

sentence departs from the guidelines sentence (in either direction--that of greater

severity, or that of greater lenity), the more compelling the justification based on

factors in section 3553(a) that the judge must offer in order to enable the court of

appeals to assess the reasonableness of the sentence imposed." United States v.

Dean, 414 F.3d 725, 729 (7th Cir.2005). Justifying a sentence outside the range

does not require canvassing the statutory factors: " 'Judges need not rehearse on the

record all of the considerations that 18 U.S.C. § 3553(a) lists; it is enough to

calculate the range accurately and explain why (if the sentence lies outside it) this

defendant deserves more or less.' " Id.; United States v. George, 403 F.3d 470,

472-73 (7th Cir.2005). Therefore, this Court should assess whether the District

Court's choice of sentence is adequately explained given the record. This Court

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must determine whether the court's articulated reasons for jumping from 51 months

(the highest sentence permitted by the advisory guidelines) to 60         months are

sufficiently compelling.

      The PSR officer did not recommend a departure. The Government did not

argue for a departure. The District Court merely stated that “The Court finds that

based on defendant’s criminal history, a sentence outside the Guideline Imprisonment

Range is appropriate in order to protect the public from further crimes of the

defendant” (3R. 5).

      A District Court may depart upward from the Sentencing Guidelines if the

court finds that an aggravating circumstance exists that was not adequately taken into

consideration by the Sentencing Commission. 18 U.S.C. § 3553(b). Whenever a

defendant is sentenced, the district judge is required to "state in open court the

reasons for its imposition of the particular sentence." 18 U.S.C. § 3553©. If the

court departs upward from the Guidelines, the court must also state "the specific

reason for the imposition of the sentence different from that described." Id.

      The reasons that the District Court gave for the upward departure do not satisfy

the requirements for upward departure nor did the District Court employ the proper

methodology. Mr. Rinehart’s conduct was adequately contemplated and punished

in the application of the guidelines without departure. This Court may find the recent


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case of United States v. Wolfe, --- F.3d ----, 2006 WL 226019 (10th Cir. Jan 31,

2006) helpful. The District Court in Wolfe upwardly departed, and cited “public

safety” as one of three reasons to justify its sentence. The Tenth Circuit reversed and

remanded. The District Court in Wolfe specifically departed upward three more

levels because "the defendant's drunk driving did create a serious threat to the public

welfare, as evident by the tragic deaths in this case." The District Court based this

upward departure on U.S.S.G. § 5K2.14, which is a guidelines' policy statement

indicating that "if national security, public health, or safety was significantly

endangered, the court may increase the sentence above the guideline range to reflect

the nature and circumstances of the offense." In light of the policy statement, then,

this factor is one that the guidelines encourage District Courts to use as a ground for

upward departures.

      In relying on this factor, however, the District Court did not cite to any facts

other than the fact that two "tragic deaths occurred in this case." Because the District

Court did not cite to any additional justification for a departure based on a serious

threat to the public, the Tenth Circuit found that the District Court's sentence

constituted double counting in light of the sentence imposed. Mr. Rinehart contends

that his criminal history was fully considered and punished in the calculation of his

criminal history category.

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      This Court may also find the case of United States v. Casto-Juarez, 2005 WL

2417065 (7th Cir.)( Oct. 3, 2005) helpful to the disposition of this case. The Court

found that the sentence imposed was unreasonable in light of the District Court’s

explanation. The Court remanded the case “ because that sentence is more than

double the high end of the guideline range, we cannot conclude that the court's

explanation is sufficiently compelling”. Id. The Court noted that “...before Booker,

we recognized that District Courts were required to sentence within the guideline

range except in unusual cases” and “anything but a loose comparison to pre-Booker

departure cases would vitiate the post-Booker discretion that sentencing courts enjoy.

All that is necessary now to sustain a sentence above the guideline range is an

adequate statement of the judge's reasons, consistent with section 3553(a), for

thinking the sentence that he has selected is indeed appropriate for the particular

defendant ... In the end we are not persuaded that the district court met this standard”.

Castro-Juarez at *4.

      The Court found that the District Court’s recitation of the factors in section

3553(a) was not sufficient. The Court explained that ...”Having identified the

relevant factors, however, the judge did not single out any aspect except criminal

history. The court was understandably troubled by Castro-Juarez's history of several

times entering the United States illegally, committing crimes once in the country,

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being deported, and then beginning the cycle again. The judge also expressed dismay

over Castro-Juarez's history of violence, especially that directed against his girlfriend.

These are significant concerns, but they overlap and, as far as we can tell on this

record, are encompassed by the District Court's explicit reference to the text of §

4A1.3. We understand that reference to mean that the District Court was itself

drawing an analogy to § 4A1.3, yet we have seen that the analogy does not fully

explain the 48-month sentence...” Id. At *4.

      Just as in Castro-Juarez, the District Court's statements in the current record are

too ambiguous to explain the extent of its upward departure. See United States v.

Quintero, 21 F.3d 885, 894-95 (9th Cir. 1994). "In order to facilitate appellate

review, the district court must explain in detail the reasons behind the imposition of

a particular sentence, analogizing to other Guidelines provisions." Id. at 894. The

reasons given here do not justify the extent of the District Court’s departure.

      In United States v. Rusher, 966 F.2d 868, 884 (4th Cir.1992), cert. denied, 506

U.S. 926 (1992), the court held that "a general recitation that the defendant's

criminal history category or offense level under represents, in the sentencing court's

opinion, the defendant's criminal record of the seriousness of the offense" is

insufficient to justify an upward departure from the sentencing guidelines.          The

District Court’s comments here do not adequately substantiate the departure. The


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District Court’s comments are merely a “general recitation” that Mr. Rinehart’s

criminal history justifies a departure, and is insufficient to sustain a departure.

      The District Court in this case stated that it was departing upward from the

Sentencing Guidelines because Mr. Rinehart’s criminal history reflected a need to

protect the public. Mr. Rinehart’s criminal history was fully taken into account by

his criminal history category. In fact, Mr. Rinehart contends that his criminal history

category overstated his criminal history. When Mr. Rinehart was twelve years old,

he committed a sexual offense against his younger sister. The state of Iowa did not

adjudicate his offense until he was seventeen years and considered an adult. In fact,

Mr. Rinehart did not receive points for this offense because he had been released

from custody for more than five years prior to the commencement of the instant

offense.

      Because the state of Iowa waited until he was an adult to adjudicate the

offense committed when he was twelve years old, Mr. Rinehart was required to

register as a sex offender for the rest of his life. Mr. Rinehart’s eight criminal history

points are all related to the offense of non-reporting. Mr. Rinehart did not commit

additional sexual or otherwise violent crimes. He failed to register as a sexual

offender. The criminal history category of IV fully and completely punishes Mr.

Rinehart for his failure to register or report as a sex offender. These non-reporting

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crimes have not been shown to be an egregious factor that would justify an upward

departure.

      The District Court’s      reference to Mr. Rinehart’s criminal conduct is

insufficient as a justification for the upward departure since this conduct had already

been considered in the calculation of the criminal history category.

      The extent of the departure in this case was also unreasonable. The District

Court increased by nine months, the equivalent of twenty percent, the highest

sentence that Mr. Rinehart was eligible to receive under the advisory guideline range

of imprisonment. The sentencing court, in addition to justifying the particular steps

of the upward departure, should be able to justify the overall magnitude of that

departure. As the Tenth Circuit stated, "because a judge who departs no longer

strictly follows the standards of the Guidelines, uniformity is threatened. The relative

lack of constraint accompanying departures also threatens the principle of

proportionality." United States v. Jackson, 921 F.2d 985, 988 (10th Cir.1990). The

exercise of restraint and moderateness in the situation of departures is therefore of

great importance.

      The reasons that the District Court gave for the upward departure and the

extent of the upward departure do not satisfy the Sentencing Guidelines requirements

for upward departure. Mr. Rinehart’s conduct was adequately contemplated and

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punished in the application of the guidelines without departure. The departure

resulted in a sentence that was nine months higher than the highest sentence in the

guideline range. This constitutes a 20 % increase in Mr. Rinehart’s sentence. The

District Court erred in departing upward to this magnitude. The sentence imposed on

Mr. Rinehart is unreasonable. Therefore, the District Court erred in departing

from the guidelines.




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                             GROUND OF ERROR #2

I.    MR. RINEHART’S SENTENCE MUST BE VACATED BECAUSE THE
      DISTRICT COURT DID NOT PROVIDE NOTICE OF ITS INTENT TO
      IMPOSE A SENTENCE ABOVE THE ADVISORY GUIDELINE RANGE.


II.   STANDARD OF REVIEW AND REVIEWABILITY

      The PSR did not recommend that the District Court depart upward from the

range of imprisonment in the sentencing guidelines. The Government did not argue

for a sentence outside of the sentencing guidelines. Without providing notice that an

upward departure was being considered, the District Court imposed a sentence

outside the range of the advisory guidelines (3 R. 5).

      Mr. Rinehart contends that the District Court erred by failing to give him the

required notice of its intent to upwardly depart.             Mr. Rinehart did not

contemporaneously object to the District Court's sua sponte departure. In the

absence of a timely objection, a Burns notice violation is ordinarily reviewable

under the plain error standard. See United State v. Bellamy, 264 F.2d 448 (4th Cir.

2001); United States v. Zinn, 321 F.3d 1084, 1087 (11th Cir.2003). Appellate courts

correct plain error when: (1) there is error; (2) the error is plain; (3) it affects the

defendant's substantial rights; and (4) it seriously affects the fairness, integrity or

public reputation of the judicial proceedings. United States v. Romano, 314 F.3d

1279, 1281 (11th Cir.2002).

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III.   ARGUMENT AND AUTHORITIES

       The District Court abused its discretion by departing upward in this case. No

notice was provided that an upward departure was being considered. An upward

departure was not advocated by either the Government or the PSR officer. The first

indication that an upward departure was being considered was when the District

Court stated its intention as it was imposing the sentence.

       The District Court erred by not providing advance notice of its intent to depart

from the Sentencing Guidelines required by Fed.R.Crim.P. 32(h). The Rule

provides:

       "Before the court may depart from the applicable sentencing range on
       a ground not identified for departure either in the presentence report or
       in a party's prehearing submission, the court must give the parties
       reasonable notice that it is contemplating such a departure. The notice
       must specify any ground on which the court is contemplating a
       departure." Fed.R.Crim.P. 32(h).

       In Burns v. United States, 501 U.S. 129 (1991), the Supreme Court held that

"before a district court can depart upward on a ground not identified as a ground for

upward departure either in the presentence report or in a prehearing submission by

the Government, Rule 32 requires that the District Court give the parties reasonable

notice that it is contemplating such a ruling." 501 U.S. 129, 138 (1991).        T h e

notice must "specifically identify" the reason for the departure. Burns at 138-39.



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      In Burns, the Supreme Court was forced to determine whether a District Court

could upwardly depart from a Guideline sentencing range without providing the

parties with notice of an intent to depart before doing so. The Supreme Court

concluded that the "answer to this question is clearly no." Id. at 135. More than 10

years later, the notice requirement first set forth in Burns was enshrined in Rule 32(h)

of the Rules of Criminal procedure Rule 32(h) requires that a District Court must

"give parties reasonable notice that it is contemplating" a departure and must "specify

any ground on which the court is contemplating a departure." Such notice is required

if the District Court seeks to depart from the Guideline range "on a ground not

identified for departure in the Presentence report or in a parry's prehearing submission

       In Burns, the PSR specifically stated that there were "no factors that would

warrant a departure from the guideline sentence." Id. at 131, 111 S.Ct. 2182.

Nevertheless, the District Court announced at the end of sentencing that it was

departing from the Sentencing Guidelines range without previously giving the parties

advance notice of its intent to depart. Id. In reversing the court of appeal's affirmance

of the District Court's departure, the Court held that Rule 32 required that the District

Court "give the parties reasonable notice that it is contemplating [a departure]" before

it can "depart upward on a ground not identified as a ground for upward departure




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either in the presentence report or in a prehearing submission by the Government."

Id. at 138-39, 111 S.Ct. 2182.

      The requirement that a District Court provide notice of its intent to upwardly

depart from the Guidelines is equally applicable to above the Guidelines sentences

imposed in a post-Booker advisory Guideline system. Because the District Court

imposed such a sentence upon Mr. Rinehart without providing notice, that sentence

must be vacated.

      In Burns, the Supreme Court recognized that modern federal sentencing

requires procedures that promote "focused, adversarial resolution of the legal and

factual issues." It is, therefore, essential that all the parties involved at sentencing -

the defendant, the Government, and the District Court - know prior to sentence what

issues need to be addressed. The Supreme Court recognized. and the Rules of

Criminal Procedure later codified, that this was best achieved through notice to the

parties by the District Court when it intended to impose an above-the- Guidelines

sentence.

      The Supreme Court's recent decision in United States v. Booker, 453 U S 220

(2005), does not affect the application of the notice requirement in Rule 32(h) In

Booker, the Supreme Court cured the Sixth Amendment defects inherent in a

mandatory Guideline system by amending the Sentencing Reform Act and making the

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Guidelines advisory. Id. at 756-757. In doing so, the Court discussed the specific

provisions of the SRA which "we must sever and excise as inconsistent with the

Court's constitutional requirement". Id at 764. Only two specific provisions were

excised -- 18 U S.C §3553(b)(1) and 3742(e). Thus. the notice provision of Rule

32(h) remains in effect and must be complied with by the District Court.

      It is Mr. Rinehart’s contention that notice prior to the District Court imposing

an above-the-Guidelines sentence is critical to the focused inquiry at sentencing

required by the Supreme Court and Rule 32. In a post-Booker sentencing scheme, a

District Court can impose a sentence outside of the advisory Guideline range in two

ways. First, it can depart from that advisory Guideline range as it could before Booker

was decided Second, it can vary from that advisory Guideline range and impose a

sentence within the range set by the United States Code. In the first instance, Rule

32(h) would unquestionably prevent the District Court from an unwarned upward

departure In the second, the concerns which motivated Burns and the adoption of

Rule 32(h) require its notice requirement to be followed as well In either case, a

sentence must be "sufficient, but not grater than necessary, to comply with the

purposes" of sentencing set forth in 18 U.S C §3553(a)(2).

      Regardless of whether the District Court departs or varies, the notice

requirement of Rule 32(h) provides the same critical function As the Supreme Court

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recognized in Burns, the purpose of Rule 32 in general is "promoting focused,

adversarial resolution of the legal and factual issues relevant to fixing Guideline

sentences." Burns, 501 U S at 137. On a more fundamental level, the Court noted that

" "[t]h[e] right to be heard has little reality or worth unless one is informed that a

decision is contemplated' " Id. at 136; see also Mullane v Central Hanover Bank &

Trust Co., 339 U.S 306, 314 (1950).

      Thus, the right of a defendant to be heard at sentencing is meaningless if he has

no notice of the issues relevant to the District Court's imposition of sentence.

      The rationale that animated Burns applies with even more force in a

post-Booker advisory Guideline system. Where once a defendant could be assured of

receiving a sentence within the Guideline sentencing range, District Courts now have

the discretion to impose sentences well above or below the advisory Guideline

sentencing range. Where the Guidelines once limited the information relevant to

sentencing decisions, the information relevant to whether a sentence is ""sufficient,

but not greater than necessary to comply with the purposes" set forth in 18 U.S.C

§3553(a)(2), is considerably broader See United States v Ranum, 353 F.Supp.2d

984, 986 (E D Wis 2005)(citing those facts now relevant in sentencing). Given the

broad range of issues and evidence that may be relevant at sentencing, it is critical

that sentencing hearings are focused on disputed issues of fact or law that can be

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resolved by the District Court after full argument by the parties. That is why Rule

32(f) sets forth strict timelines for the parties to object to the PSR and why Rule

32(i)(3) requires the District Court to resolve disputes prior to sentencing. The notice

provision required by Burns and Rule 32(h) likewise promotes the "focused,

adversarial resolution of the legal and factual issues."

      Mr. Rinehart acknowledges that this court has not ruled on the applicability of

Rule 32(h) to post-Booker sentences, whether within or outside the Guidelines

scheme. The other circuits which have considered the question have split on the issue.

See United States v. Hawk Wing, No. 05- 2263, 2006 U .S.App. LEXIS 262, at *6-12

(8th Cir. Jan. 6, 2006) (applying Rule 32(h) notice requirement to non-Guidelines

sentence without comment); United States v. Egenberger, 424 F.3d 803, 805-06 (8th

Cir.2005) (not requiring Rule 32(h) notice in sentence involving departure above

advisory guideline range); United States v. Monroy, No. 04-3234, 135 Fed. Appx.

190, 2005 U.S.App. LEXIS 11538, at *7-8 (10th Cir. June 16, 2005) (holding that

"there is nothing in the remedial portion of Booker which impugns the continued

vitality of departures or Rule 32(h)").

      This Court may also wish to consider the unpublished case of United States

v. Florez, 2006 WL 38948 (11th Cir.(Fla.) Jan 09, 2006). The Eleventh Circuit held

that the District Court plainly erred by not giving Florez notice before the sentencing

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hearing that it was contemplating an upward departure. Like this case, the PSR did

not suggest an upward departure, and the government made no such suggestion in its

pre-hearing submission. The first mention of a possible departure from the guidelines

range was made by the district court at the sentencing hearing”. Florez at *8. This

Circuit should join those who continue to apply Rule 32(h) in post-Booker cases.

      Here, the District Court plainly erred by not giving Mr. Rinehart notice

before the sentencing hearing that it was contemplating an upward departure. The

PSR did not suggest an upward departure, and the government made no such

suggestion in its pre-hearing submission. The first mention of a possible departure

made by the District Court at the sentencing hearing. Thus, there was error that was

plain, satisfying the first two prongs of plain-error review.

      As to the third prong, the Burns-notice error affected Mr. Rinehart’s

substantial rights under the factual circumstances of this case. See United States v.

Valentine, 21 F.3d 395, 397-98 (11th Cir.1994) (holding that District Court

committed plain error when it failed to provide pre-hearing notice of an upward

departure, relied upon unsupported factual assumptions as a basis for the departure

and imposed a sentence substantially in excess of the guidelines range). First, if

defense counsel had known prior to the hearing that Mr. Rinehart’s criminal history

might be used to support an upward departure on a “public safety” issue, he would

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have had an opportunity to marshal facts to contest a departure on this basis. See id.

at 398 (explaining that defendant was prejudiced because the lack of pre-hearing

notice deprived counsel of the opportunity to contest factual assumptions used to

support upward departure). Second, Mr. Rinehart has              arguments on appeal

challenging the departure as unreasonable and shown that they could have been

made at sentencing if given adequate notice of the upward departure. See United

States v. Jones, 1 F.3d 1167, 1171 (11th Cir.1993).

      Third, the District Court sentenced Mr. Rinehart to a term of imprisonment

(60 months) significantly higher than the highest applicable guidelines range

sentence (51 months). See Valentine, 21 F.3d at 398 (pointing to the "substantial

extra prison time" in determining that defendant was prejudiced by the erroneous

upward departure). Under the circumstances of this case, Mr. Rinehart has shown

that the error affected his substantial rights, and that the error seriously affected the

fairness and integrity of the sentencing hearing. Based on the foregoing, this Court

should vacate and remand for resentencing, with instructions to provide reasonable

Burns notice if an upward departure will be considered.




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                               CONCLUSION

      FOR   THESE REASONS,   Appellant's sentence should be vacated and the case

remanded to the District Court for resentencing.

                                              Respectfully submitted,



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                      CERTIFICATE OF SERVICE

      I certify that on the 22nd day of February, 2006, I served one 3 ½ inch disk

containing the foregoing Brief of Appellant, along with two printed copies of the

Brief of Appellant, on the following individual by certified mail return receipt

requested, by depositing same, enclosed in post paid, properly addressed wrapper, in

a Post Office or official depository, under the care and custody of the United States

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Brief of Appellant on the following individual by depositing same, enclosed in post

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